       Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 1 of 10 Page ID #:32



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                                                                                    rs
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             Facsimile: (310)255-0986
u                                                                                    ST
                                                                                     sr


        6   Attorneys for Defendants
            ZIONIST ORGANIZATION OF AMERICA
        7   and MORTON KLEIN

        8
                                      UNITED STATES DISTRICT COURT
        9
                               CENTRAL DISTRICT - CENTRAL DISTRICT
       10

       11
            ORIT AREA, an individual,
       12
                             Plaintiff,               [Los Angeles County Superior Court
       13                                             Case No. BC503861]
            vs.
       14                                             DEFENDANT ZIONIST
            ZIONIST ORGANIZATION OF                   ORGANIZATION OF AMERICA
       15   AMERICA, a New York                       AND MORTON KLEIN'S NOTICE
            corporation; MORTON KLEIN, an             OF REMOVAL TO FEDERAL
       16   individual; and DOES 1 through 20,        COURT UNDER 28 U.S.C. § 1441(a);
            inclusive,                                28 U.S.C. § 1332
       17
                             Defendants.              Complaint Filed:       March 25, 2013
       18

       19
            TO THE CLERK OF THE COURT:
       20
                  PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. sections 1441(a) and
       21
            1446, Defendants the Zionist Organization of America and Morton Klein hereby
       22
            remove the above-entitled action from the Superior Court of California in and for
       23
            the County of Los Angeles to the United States District Court for the Central
       24
            District of California.
       25

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       27

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            DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                                                                                           4820-0330-7539
            CASE NO.
             Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 2 of 10 Page ID #:33



               1              GROUNDS FOR REMOVAL ON THE BASIS OF DIVERSITY

              2    I.     REMOVAL JURISDICTION

              3           This Court has original jurisdiction over this action under 28 U.S.C. Section
              4    1332 because it involves citizens of different states and the matter in controversy
              5    exceeds the sum of $75,000, exclusive of interest and costs. Defendants the Zionist
              6    Organization of America ("the ZOA") and Morton Klein (collectively
              7    "Defendants") are citizens of the States of New York and Pennsylvania,
              8    respectively, whereas Plaintiff Orit Arfa ("Plaintiff) is a resident and citizen of the
              9    State of California. Plaintiff claims that she is seeking $300,000.00 in damages and
             10    attorneys' fees.
             11          On or about March 25, 2013, Plaintiff filed a Complaint in the Superior
•J


             12    Court of the State of California for Los Angeles, entitled Orit Arfa, an individual,
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         o
             13    vs. Zionist Organization ofAmerica, a New York corporation; Morton Klein, an
Q    2 2

             14    individual; and DOES 1 through 20, inclusive, Case No. BC503861 (hereinafter
             15    the "Complaint"). (Declaration of Gregory Glazer ("Glazer Decl.") H2, Exh. A.)
             16    The Complaint purports to state causes of action against Defendants for wrongful
             17    termination, civil conspiracy, intentional and negligent infliction of emotional
             18    distress, and unfair business practices. (Glazer Decl. | 2, Ex. A.)
             19          The ZOA filed a Demurrer and Motion to Strike portions of Plaintiff s
             20    Complaint in state court on April 12, 2013, which has not been heard. (Glazer
             21    Decl. ^f 3, Exh. B & C.) Mr. Klein was served the Summons and Complaint on
             22    April 20, 2013 and has not filed a responsive pleading because it is not yet due.
             23    (Glazer Decl. f 2.)
             24          Pursuant to 28 U.S.C. section 1446(d), Defendants are concurrently filing a
             25    Notice to the State Court of Removal with the Superior Court of the State of
             26    California in and for the County of Los Angeles and serving it on Plaintiff.
             27    (Glazer Decl. If 4, Exh. D.)
             28

                   DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                   CASE NO.
             Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 3 of 10 Page ID #:34



               1   II.    COMPLETE DIVERSITY OF CITIZENSHIP EXISTS

              2           A.    The Parties are Citizens of Different States

              3           There is complete diversity of citizenship in this case between Plaintiff and
              4    Defendants the ZOA and Mr. Klein. Complete diversity of citizenship exists when
              5    each of the plaintiff is a citizen of a different state from each of the defendants.
              6    See, e.g., Caterpillar Inc. v. Lewis, 519 U.S. 61, 68 (1996). Citizenship of a natural
              7    person is determined by his or her state of domicile. Kanter v. Warner-Lambert
              8    Co., 265 F.3d 853, 857 (9th Cir. 2001). A corporation is deemed to be a "citizen"
              9    of "any State by which it has been incorporated and of the State where it has its
             10    principal place of business." 28 U.S.C. §1332(a).
             11           Here, the ZOA, which is a corporation, is incorporated in and has its

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             12    principal place of business in the State of New York. (Declaration of David Drimer
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             13    ("Drimer Decl.") Decl. | 2; Glazer Decl. If 2, Exh. A If 5.) The ZOA is a citizen of
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lo ? ;
             14    New York, not California.
             15           Defendant Morton Klein resides in and is a citizen of the State of
             16    Pennsylvania, and is not a citizen of California. (Declaration of Morton Klein
             17    ("Klein Decl.") ]f 2; Glazer Decl. If 2, Exh. A | 6.)
             18           According to her Complaint, Plaintiff is a resident of the State of California.
             19    (Glazer Decl. 12, Exh. A f 4.) She therefore is completely diverse from
             20    Defendants, which are not citizens of that state.
             21
                   III.   THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
             22           Under 28 U.S.C. section 1332(a), federal district courts have diversity
             23    jurisdiction over civil actions where the amount in controversy exceeds $75,000,
             24    exclusive of costs and interest. According to Plaintiff herself, a reasonable estimate
             25    of her claims is $300,000, an amount well over the $75,000 threshold for diversity
             26    claims. Prior to filing her lawsuit, Plaintiff sent correspondents to Defendants'
             27    counsel offering to accept payment of $300,000 to settle her employment claims
             28
                                                               3
                   DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                   CASE NO.
            Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 4 of 10 Page ID #:35



              1   against Defendants. (Glazer Decl. ^f 5, Ex. E.) "A settlement demand is relevant
              2   evidence of the amount in controversy if it appears to reflect a reasonable estimate
              3   of the plaintiffs claims." Cohn v. Petsmart, 281 F.3d 837, 840 (9th Cir. 2002); see
              4   also Babasa v. Lenscrafters, Inc., 498 F.3d 972, 975 (9th Cir. 2007).
              5         Also, in her Complaint, Plaintiff seeks past and future economic and non-
              6   economic damages, emotional distress damages, punitive damages, and attorneys'
              7   fees. (Glazer Decl. If 2, Ex. A ffif 41, 42, 47, 48, 52, 53, 55, 56, 57, 58, 63, 69,
              8   Prayer for Relief.) All of Plaintiff s purported damages may be used to determine
             9    the amount in controversy. See 28 U.S.C. § 1332(a). Where it is "unclear or
            10    ambiguous from the face of a state-court complaint whether the requisite amount in
            11    controversy is pled," the Court must determine whether it is "more likely than not"
            12    that the amount in controversy exceeds $75,000. Guglielmino v. McKee Foods
            13    Corporation, 506 F.3d 696, 699-701 (9th Cir. 2007). The Court must consider any
q   z   ;

            14    "sum which would entail a payment" by the defendant, including damages for lost
            15    wages, lost future wages, the value of lost health benefits, compensatory damages,
            16    punitive damages, and attorney's fees. Id. at 698-701 (affirming district court's
            17    calculation of amount in controversy, including back benefits, estimated attorneys'
            18    fees of 12.5% of actual damages sought and punitive damages at a 1:1 ratio to
            19    economic damages).
            20          Accordingly, per Plaintiffs own pre-litigation damage assessment of
            21    $300,000, in accordance with the relief sought in her Complaint, places the amount
            22    in controversy over $75,000.
            23    IV.   THE NOTICE OF REMOVAL IS TIMELY

            24          Removal of a complaint from state court to federal court must be effected
            25    within 30 days from the first date from that it can be ascertained that that federal
            26    subject matter jurisdiction exists. See, e.g., 28 U.S.C. 1446(b). That statute
            27    provides in relevant part:
            28

                  DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                  CASE NO.
             Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 5 of 10 Page ID #:36



               1            "The notice of removal of a civil action or proceeding shall be filed
                            within thirty days after the receipt by the defendant, through service or
               2            otherwise, of a copy of the initial pleading setting forth the claim for
                            relief upon which such action or proceeding is based . . . ."
               3

               4            Here, Plaintiff served the Summons and Complaint to the ZOA on March
               5   27, 2013 and Mr. Klein on April 20, 2013. (Glazer Decl. f , Exh. A.) As a result,
               6   Defendants filed this Notice of Removal less than thirty (30) days of service of the
               7   Complaint's service. Thus, removal is timely pursuant to 28 U.S.C. section
               8   1446(b).

              9    IV.      CONCLUSION

              10         For the foregoing reasons, removal of this case to federal court is proper.
             11    This Court has original jurisdiction over this matter pursuant to 28 U.S.C. sections

             12    1332(a) and 1441.

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     <       14    Dated:         April 25, 2013                         SCHFELD KRAEMER LLP

             15

             16                                              By:
                                                                                  gory S. Glazer
             17                                                              Alison M. Hamer
                                                             Atto:          Defendants
             18                                              ZIOMST        GANIZATION OF AMERICA
                                                             and MOR       N KLEIN
             19

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                   DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                   CASE NO.
      Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 6 of 10 Page ID #:37



       1
                                        CERTIFICATE OF SERVICE
       2
           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
       3            I am a citizen of the United States and a resident of the State of California,
           over the age of eighteen years, and not a party to the within action. My business
       4   address is 233 Wflshire Boulevard, Suite 600, Santa Monica, California 90401. On
           April 25, 2013,1 served the following document(s) by the method indicated below:
       5
                             DEFENDANT ZIONIST ORGANIZATION OF
                            AMERICA AND MORTON KLEIN'S NOTICE OF
       6
                             REMOVAL TO FEDERAL COURT UNDER 28
       7
                                      U.S.C. § 1441(a); 28 U.S.C. § 1332
              |~~1 by transmitting via facsimile on this date from fax number (310) 255-0986
       8
                      the document(s) listed above to the fax number(s) set forth below. The
       9              transmission was completed before 5:00 p.m. and was reported complete
                      and without error. Service by fax was made by agreement of the parties,
      10
                      confirmed in writing. The transmitting fax machine complies with Cal.
      11              R.Ct 2003(3).
1-1

      12      |xl     by placing the document(s) listed above in a sealed envelope(s) with
                      postage thereon fully prepaid, in the United States mail at Santa Monica,
      13
                      California addressed as set forth below. I am readily familiar with the
      14              firm's practice of collection and processing correspondence for mailing.
                      Under that practice it would be deposited in the U.S. Postal Service on that
      15
                      same day with postage thereon fully prepaid in the ordinary course of
      16              business. I am aware that on motion of the party served, service is
                      presumed invalid if postal cancellation date or postage meter date is more
      17
                      than one day after date of deposit for mailing in affidavit.
      18      I | by placing the document(s) listed above in a sealed envelope(s) and by
      19              causing messenger delivery of the envelope(s) to the person(s) at the
                      address(es) set forth below. I am readily familiar with the business practice
      20              of my place of employment with respect to the collection and processing of
      21              correspondence, pleadings and notices for hand delivery. On April 25,
                      2013,1 caused to be served via messenger the above-listed documents.
      22
              I | by personally delivering the document(s) listed above to the person(s) at
      23              the address(es) set forth below.
      24     |~|      by placing the document(s) listed above in a sealed envelope(s) and
                      consigning it to an express mail service for guaranteed delivery on the next
      25
                      business day following the date of consignment to the address(es) set forth
      26              below.

      27

      28

           DEFENDANT'S NOTICE OF REMOVAL TO FEDERAL COURT
           CASE NO.
            Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 7 of 10 Page ID #:38



             1         Bryan C. Altman
             2         Joel E. Elkins
                       The Altman Law Group
             3         6300 Wilshire Blvd., Ste. 980
             4         Los Angeles, CA 90048
                       Phone:(323)653-5581
             5         Fax: (323) 653-5542
             6         I declare under penalty of perjury under the laws of the United States that the
                 foregoing is true and correct, and that I am employed by an officer of a member of
             7   the bar of this Court at whose direction the service was made. Executed on
                 April 25, 2013 at Santa Monica, California.
             8
                                                                    A-1^.       Iip-"AZ^—
             9                                                          Karen Torres

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                 DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT
                 CASE NO.
Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 8 of 10 Page ID #:39



                                         UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA



       NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY



                  This case has been assigned to District Judge Audrey B. Collins and the assigned
            discovery Magistrate Judge is Suzanne H. Segal.

            The case number on all documents filed with the Court should read as follows:

                                                CV13-          2942 ABC               (SSx)

               Pursuant to General Order 05-07 of the United States District Court for the Central
       District of California, the Magistrate Judge has been designated to hear discovery related
       motions.




       All discoveryrelated motions should be noticed on the calendar of the Magistrate Judge




                                                              NOTICE TO COUNSEL

    Acopy of this notice must be served with the summons and complaint onall defendants (if a removal action is
    filed, a copy of this notice must be served on allplaintiffs).
    Subsequent documents must be filed at the following location:

     f "[^Western Division                         [1 Southern Division                           [_] Eastern Division
    )s 312 N. Spring St., Rm. G-8                        411 West Fourth St., Rm. 1-053               3470 Twelfth St., Rm. 134
           Los Angeles, CA90012                          Santa Ana, CA92701-4516                      Riverside, CA92501




     Failureto file at the proper location will result in your documents being returned to you.




     CV-18 (03/06)            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
                     Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 9 of 10 Page ID #:40
                                            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                           CIVIL COVER SHEET

I. (a) PLAINTIFFS (Check box if you are representing yourself ZZ                                        DEFENDANTS                 (Check box if you are representing yourself ZZ )
ORIT            ARFA                                                                                    ZIONIST           ORGANIZATION OF AMERICA and
                                                                                                        MORTON KLEIN,                   et al.

(b) Attorneys (Firm Name, Address and Telephone Number. If you                                          (b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same.)                                                               are representing yourself, provide same.)
Bryan C. Altman (SBN 122 97 6)                                                                          Gregory S. Glazer (SBN 172197)
THE         ALTMAN          LAW    GROUP                                                                Alison M.                Hamer             (SBN 258281)
6300 Wilshire Blvd., Suite 980                                                                          HIRSCHFELD                KRAEMER                 LLP
Los Angeles, CA 90048                                                                                233 Wilshire Blvd., Ste. 600
Telephone: (323) 653-5581                                                                            Santa Monica, CA       90401 T: (310) 255-0705
II. BASIS OF JURISDICTION (Place an X in one box only.]                                       III.CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                   (Place an X in one box for plaintiff and one for defendant)
                                                                                                                             PTF        DEF                                              PTF          DEF
ZZ 1. U.S. Government                   I     I 3. Federal Question (U.S.                     Citizen of This State          QZ 1 •                1 Incorporated or Principal Place •         4 •          4
                                                                                                                                                     of Business in this State
         Plaintiff                              Government Not a Party)
                                                                                              Citizen of Another State D 2              E 2 Incorporated and Principal Place                   5      IXJ 5
                                                                                                                                                     of Business in Another State
•        2. U.S. Government             l~X~l 4. Diversity (Indicate Citizenship              Citizen or Subject of a
         Defendant                              of Parties in Item III)                       Foreign Country                •     3    •             Foreign Nation                           6      •     6


 IV. ORIGIN (Place an Xin One bOX OnlyJ                                                                                   I5. Transferred from Another I           16. Multi-
I 11. Original   I X 12. Removed from I i 3. Remanded from I                                  I 4. Reinstated or              District (Specify)                      District
      Proceeding        State Court          Appellate Court                                       Reopened                                                         Litigation

V. REQUESTED IN COMPLAINT: JURY DEMAND: ZxZjYes Z~~J No (Check "Yes" only ifdemanded in complaint.]
CLASS ACTION under F.R.Cv.P. 23: •                                YesQcZlNo                       [xZI MONEY DEMANDED IN COMPLAINT: $ _
VI. CAUSE OF ACTION (Cite the U.S. Civil Statuteunderwhich you are filing and write a brief statementofcause. Donotcitejurisdictional statutesunlessdiversity.)
28 USC Section 1332:                                 Plaintiff asserts various claims related to her employment with
Defendants.
VII. NATURE OF SUIT (Place an X in one box only).
        OTHER STATUTES                        CONTRACT              REAL PROPERTY CQNT.                    IMMIGRATION                  PRISONER PETITIONS                       PROPERTY RIGHTS

                                                                    I    I 240 Torts to Land        [^]462 Naturalization                    Habeas Corpus:              I   I 820 Copyrights
I       I 375 False Claims Act      I       I 110 Insurance
                                                                    |    1245Tort Product                 Application               LZZ1 463 Alien Detainee              LZZ 830 Patent
|—| 400 State                       •        120 Marine                   Liability                 |—1465 Other                    I J510 Motions to Vacate
          Reapportionment                                                                                                                   Sentence                     CZ 840Trademark
                                                                                                          Immigration Actions
•         410 Antitrust             •        130 Miller Act               290 All Other Real
                                                                                                                                    LZZl 530 General                             SOCIAL SECURITY
                                                                    •
                                    |       [ 140 Negotiable              Property                            TORTS
I I 430 Banks andBanking                                                       TORTS                PERSONAL PROPERTY               I    I535Death Penalty               •  861 HIA(1395ff)
                                             Instrument
I       I 450 Commerce/ICC                                              PERSONAL INJURY                                                      Other:
                                             150 Recovery of                                        I     1370 Other Fraud                                               ZZ 862 Black Lung (923)
          Rates/Etc.                                                • 310 Airplane                                                  I    I540 Mandamus/Other
                                    I—| Overpayment &                                               1 1371 Truth inLending                                               •       863 DIWC/DIWW (405 (g))
I       I 460 Deportation                    Enforcement of         I 1315Airplane                                                  ZZ 550 Civil Rights
                                             Judgment               '—' Product Liability           p—1380 Other Personal                                                •       864 SSIDTitle XVI
I       I 470 Racketeer Influ                                                                                                       I   J 555 Prison Condition
                                    ZZ 151 Medicare Act             I—i 320 Assault, Libel &              Property Damage
          enced & Corrupt Org.                                                                                                                                           •       865 RSI (405 (g))
                                                                    1—> Slander                                                             560 Civil Detainee
ZZ 480 ConsumerCredit                         152 Recovery of                                       i—1385 Property Damage I—I Conditions of
                                                                    I    1330 Fed. Employers'       1—' Product Liability
                                    I       I Defaulted Student     1 ' Liability                                              Confinement                                       FEDERAL TAX SUITS
I       I 490 Cable/Sat TV                    Loan (Excl. Vet.)                                                                         FORFEITURE/PENALTY
                                                                    CZI 340 Marine
                                                                                                          BANKRUPTCY                                                     1—] 870 Taxes (U.S. Plaintiff or
          850 Securities/Com                 153 Recovery of
                                                                                                    I—,422 Appeal 28                        625 Drug Related                     Defendant)
                                                                          345 Marine Product
•         modities/Exchange         I       I Overpayment of                                        1 'USC 158                      '—' Seizure of Property 21
                                                                          Liability
                                                                                                    i—1423 Withdrawal 28                     USC 881
                                                                                                                                                                         i   ] 871 IRS-Third Party 26 USC
                                             Vet. Benefits
i 1890 Other Statutory                                              •LZZZ1 :350Motor Vehicle              USC 157                                                                7609
          Actions                   |—| 160Stockholders'                  355 Motor Vehicle               CIVIL RIGHTS              ZZ 690 Other
                                             Suits                        Product Liability
ZZ 891 Agricultural Acts                                                                            •     440 Other Civil Rights                     LABOR
                                    |       1190 Other                    360 Other Personal
          893 Environmental                                                                         I 1441 Voting                   |    | 710 FairLaborStandards
                                                                       Injury
•                                            Contract                                                                                        Act
          Matters                                                      362 Personal Injury-         53 442 Employment
I       ! 895 Freedom of Info.      |       1195Contract            n ;Med Malpratice                                               |    | 720 Labor/Mgmt.
                                             Product Liability
                                                                                                    |     1443 Housing/                      Relations
          Act                                                             365 Personal Injury-            Accomodations
I       I 896 Arbitration           I       I 196 Franchise         [    IProduct Liability                                         ZZ 740Railway Labor Act
                                                                                                           445 American with
                                        REAL PROPERTY                     367 Health Care/                                          i       , 751 Family and Medical
                                                                    I—| Pharmaceutical              I     IDisabilities-
          899 Admin. Procedures     i—| 210Land                                                           Employment                ;—' Leave Act
I       I Act/Review ofAppeal of             Condemnation           ' ' Personal Injury                                             |—| 790Other Labor
          Agency Decision                                                 Product Liability               446 American with
                                    I       I 220 Foreclosure                                       •                                        Litigation
                                                                          368 Asbestos                    Disabilities-Other
[—i 950 Constitutionality of
    —     State Statutes
                                    |—| 230 Rent Leasei
                                             Ejectment
                                                                    I    IPersonalInjury
                                                                          Product Liability
                                                                                                 ffZ^sjduaor^ *S                                             Ret. Inc.



FOR OFFICE USE ONLY:               Case Number:


                       AFTER COMPLETING PAGE 1 OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED ON PAGE 2.


CV-71 (02/13)                                                                         CIVIL COVER SHEET                                                                                 Page 1 of 2
                                                                                                                                                                                                   CCD-CV71
               Case 2:13-cv-02942-ABC-SS Document 1 Filed 04/25/13 Page 10 of 10 Page ID #:41

                                         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                     CIVIL COVER SHEET

Vlll(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed?                                      I x 1NO        j     1YES

          Ifyes, list case number(s):

Vlll(b). RELATED CASES: Have any cases been previouslyfiled in this court that are related to the present case?                                       fxl NO               !YES

          If yes, list case number(s):

    Civil cases are deemed related if a previously filed case and the present case:

    (Check all boxes that apply)     |     | A. Arise from the same orclosely related transactions, happenings, orevents; or
                                     |     I B. Call for determination ofthe same orsubstantially related orsimilar questions oflaw and fact; or
                                     |     | C. For other reasons would entail substantial duplication oflabor if heard by different judges; or
                                     I     I D. Involve the same patent, trademark orcopyright, and one of the factors identified above in a, b orc also ispresent.
IX. VENUE: (When completing the following information, use an additional sheet if necessary.)
(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
plaintiff resides.

ZZ Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
                                                                                              California County outside of this District; State, if other than California; or Foreign
County in this District: *
                                                                                              Country




(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
defendant resides.

I    ICheck here ifthe government, its agencies or employees is a named defendant. Ifthis box is checked, go to item (c).
                                                                                               California County outside of this District; State, if other than California; or Foreign
County in this District: *
                                                                                               Country




(c) List the County in this District; California County outside of this District; State ifother than California; or Foreign Country, in which EACH claimarose.
NOTE: In land condemnation cases, use the location of the tract of land involved.
                                                                                               California County outside of this District; State, if other than California; or Foreign
County in this District: *
                                                                                               Country




* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land invojygd

X. SIGNATURE OF ATTORNEY (OR SELF-REPRESENTED LITIGANT): /2                                                                             date: April 24,                  2013
                                                                     Alison M. Hamer
Notice to Counsel/Parties: The CV-71 (JS-44) CivilCover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).
Key to Statistical codes relating to Social Security Cases:
      Nature of Suit Code          Abbreviation                Substantive Statement of Cause of Action
                                                        Allclaims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
                                     HIA                include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                        (42 USC. 1935FF(b))

         862                         BL                 All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                        923)

         863                         DIWC               Allclaims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                        all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

         863                         DIWW               All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                        amended. (42 U.S.C. 405 (g))

         864                         SSID               All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                        amended.

         865                         RSI                All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                        (42 U.S.C. 405(g))


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